Case 2:04-cr-20306-SH|\/| Document 36 Filed 06/01/05 Page 1 of 2 Page|D 46

IN THE UNITED sTATEs DISTRICT COURT mfg Q:.J \,Qf/ o_c.
FoR THE WESTERN DIsTRICT oF TENNESSEE
wEsTERN I)IVISION 05 JUH - l PH 1¢ nn

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UNITED STATES OF AMERICA, § WD Gr- w NiE;v»,pH;g _
Plaintiff, ) Criminal No. 04-20306-Md.
vs. )
)
LARRY WILBORN, )
)
Defendant. )

 

ORDER OF DISMISSAL

 

Before the court is the government’s motion to dismiss the indictment in this matter For
good cause shoWn, the motion is granted The indictment, No. 04-20306, returned against Larry
Wilbom on July 29, 2004 is dismissed.

Entered this i 5 L day of June, 2005.

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UNITED STATES DISTR]CT JUDGE

 

Date: 5 3/ vs

Spé/ ial Assistant U. S. Attorney

This document entered on the docket sheet m compliance

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Jennifer LaWrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Randall P. Salky

LAW OFFICE OF RANDALL SALKY
266 S. Front St.

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

